Case 1:14-cv-00254-KD-C Document 86 Filed 12/17/15 Page 1 of 1                PageID #: 1099




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


LAURIE B. JOHNS and JOSHUA R.                 )
JOHNS, individually and on behalf of a        )
class of persons similarly situated,          )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )   Civil Action No. 14-0254-KD-C
                                              )
WELLS FARGO BANK, N.A.,                       )
                                              )
       Defendant.                             )


                                        JUDGMENT

       In accordance with the Order entered this date granting Defendant Wells Fargo Bank,

N.A.’s motion for summary judgment, it is hereby ORDERED, ADJUDGED and DECREED

that JUDGMENT is entered in favor of Defendant and against Plaintiffs Laurie B. Johns and

Joshua R. Johns.

       DONE and ORDERED this the 17th day of December 2015.



                                          s / Kristi K DuBose
                                          KRISTI K. DuBOSE
                                          UNITED STATES DISTRICT JUDGE
